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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

ROBERT WHITLEY, )
Plaintiff,
V. Civil Action No. 1:20-cv-01411 (RDA/TCB)
SECTEK, INC.,
Defendant.
ORDER

This matter comes before the Court on the Parties’ Stipulation of Dismissal. Dkt. 96.
Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the action is
DISMISSED WITH PREJUDICE.

The Clerk is directed to forward copies of this Order to counsel of record and to close this
civil action.

It is SO ORDERED.

Alexandria, Virginia

April 26 , 2022
/s/ le
V

Rossie D. Alston, Jr.
United States District Judge
